      Case 1:19-bk-12151                         Doc 41          Filed 09/02/20 Entered 09/02/20 19:38:36                                        Desc Main
 Fill in this information to identify the case:                  Document     Page 1 of 7

 Debtor 1              Sue A Moore
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                                           (State)
 Case number            1:19-bk-12151
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                          12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as Trustee of the Lodge
                               Series III Trust
 Name of creditor: _______________________________________                                                                         5
                                                                                                       Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                                Date of payment change:
 identify the debtor’s account:                                   7 ____
                                                                 ____ 5 ____
                                                                          0 ____
                                                                              0                        Must be at least 21 days after date       10        2020
                                                                                                                                                 ____/____/_____
                                                                                                                                                      01
                                                                                                       of this notice


                                                                                                       New total payment:                          2,127.29
                                                                                                                                                 $ ____________
                                                                                                       Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             811.95
                   Current escrow payment: $ _______________                                         New escrow payment:           920.69
                                                                                                                                 $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:              _______________%                              New interest rate:          _______________%

                   Current principal and interest payment: $ _______________                         New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                                       New mortgage payment: $ _______________


Official Form 410S1                                                   Notice of Mortgage Payment Change                                                   page 1
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Debtor 1         Sue A Moore
                 _______________________________________________________                                               1:19-bk-12151
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                Date    09 02 2020
                                                                                                        ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            bknotifications@ghidottiberger.com
                                                                                                Email ________________________




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                                      CERTIFICATE OF SERVICE
             On September 02, 2020, I served the foregoing documents described as Notice of Mortgage
      Payment Change on the following individuals by electronic means through the Court’s ECF
      program:
              COUNSEL FOR DEBTOR
              Christopher Thomas Travis                christravis@keegancolpa.com

              TRUSTEE
              Margaret A Burks                         Cincinnati@cinn13.org

              United States Trustee                    ustpregion09.ci.ecf@usdoj.gov

              I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
                                                               /s/ Ana Palacios
                                                               Ana Palacios

              On September 02, 2020, I served the foregoing documents described Notice of Mortgage
      Payment Change on the following individuals by depositing true copies thereof in the United States
      mail at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as
      follows:




       Debtor:
       Sue Moore
       1124 Wellesley Ave
       Batavia, OH 45103


              I declare under penalty of perjury under the laws of the United States of America that the
      foregoing is true and correct.
                                                               /s/ Ana Palacios
                                                               Ana Palacios
